
702 S.E.2d 802 (2010)
STATE of North Carolina
v.
Lacy Lee WILLIAMS.
No. 323P10.
Supreme Court of North Carolina.
October 7, 2010.
Scott A. Conklin, Assistant Attorney General, for State of North Carolina.
Lacy Lee Williams, Jr., pro se.

ORDER
Upon consideration of the petition filed by Defendant on the 5th of August 2010 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 7th of October 2010."
